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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,

                        v.                                     Case No. 1:23-cv-10511-WGY


JETBLUE AIRWAYS CORPORATION, and
SPIRIT AIRLINES, INC.,

                                Defendants.



 PLAINTIFF STATES’ MEMORANDUM OF POINTS AND AUTHORITIES
  IN SUPPORT OF CONSENT MOTION TO EXTEND TIME TO MOVE
                    FOR ATTORNEYS’ FEES
                                       INTRODUCTION
       Plaintiffs, the District of Columbia, the states of California, Maryland, New Jersey, New

York, North Carolina, and the Commonwealth of Massachusetts (collectively Plaintiff States),

move this Court for an order extending the time for Plaintiff States to file a motion for attorneys’

fees and costs, pursuant to Fed. R. Civ. P. 6(b)(1) and 54(d). Plaintiff States request this extension

to allow time for the parties to confer and to attempt to reach agreement on attorneys’ fees and

costs issues and to eliminate the need to file multiple motions for attorneys’ fees and costs.

Pursuant to L.R. D. Mass. 7.1(a), the undersigned counsel conferred with counsel for Defendants

JetBlue Airways Corporation (JetBlue) and Spirit Airlines, Inc. (Spirit) (collectively Defendants).

JetBlue and Spirit consent to the relief requested by the Plaintiff States.




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                                         ARGUMENT

       On July 28, 2022, JetBlue and Spirit announced they had reached an agreement that

JetBlue would acquire Spirit. On March 31, 2023, the Plaintiff States and the United States

Department of Justice filed an amended complaint to enjoin JetBlue’s proposed acquisition of

Spirit, pursuant to Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 16 of the Clayton

Act, 15 U.S.C. § 26. Section 16 of the Clayton Act provides that “any person . . . shall be

entitled to sue for and have injunctive relief . . . against threatened loss or damage by a

violation of the antitrust laws,” including a violation of Section 7 of the Clayton Act, 15

U.S.C. § 18. Plaintiff States are “persons” under Section 16 of the Clayton Act. Hawaii v.

Standard Oil Co., 405 U.S. 251, 260-261 (1972).

       On January 16, 2024, this Court issued an Order permanently enjoining Defendants

“from executing the proposed merger as agreed on July 28, 2022.” Section 16 of the Clayton

Act states that “[i]n any action under this section in which the plaintiff substantially prevails,

the court shall award the cost of suit, including a reasonable attorneys’ fee, to such plaintiff.”

15 U.S.C. § 26. Plaintiff States will seek their attorneys’ fees and costs as prevailing plaintiffs

in this action. On January 17, 2024, this Court issued Judgment in favor of the Plaintiffs.

Defendants JetBlue and Spirit filed a Notice of Appeal on January 19, 2024.

       Pursuant to Fed. R. Civ. P. 54(d)(2), a motion for claiming attorneys’ fees must be filed

no later than 14 days after the entry of judgment. Prevailing parties, Plaintiff States, seek the

requested extension to meaningfully meet and confer with Defendants on attorneys’ fees and

costs issues. Given there are seven Plaintiff States who will request fees and costs, the two

weeks provided under Fed. R. Civ. P. 54(d)(2) to file a motion for attorneys’ fees does not

provide sufficient time for a full discussion and resolution of these issues. Further, JetBlue and


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 Spirit have appealed the Court’s ruling. The proposed extension of time will obviate the need

 to file multiple fee petitions and responses.

       Accordingly, for good cause shown and with the consent of Defendants, Plaintiff States

request that the Court grant an order under Fed. R. Civ. P. 54(d)(2) extending the time for

Plaintiff States to file a motion for attorneys’ fees and costs to twenty-one (21) days after final

resolution of the appeal in this matter.




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Dated: January 25, 2024           Respectfully submitted,


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                                    Certificate of Service

       I certify that on January 25, 2024, I caused a true and correct copy of the Plaintiff States’

Memorandum in Support of Motion to Extend Time to Move for Attorneys’ Fees to be served

upon the parties of record through the Court’s ECF system.

                                                /s/ Jamie L. Miller
                                                Jamie L. Miller




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